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                              EXHIBIT NN


                To Declaration of Micah West in Support of
                    Motion for Preliminary Injunction
                     & Motion for Class Certification
5/12/2017           Case 3:17-cv-00321-WKW-SMD             Document
                                       Lyndon B. Johnson: Remarks           6-44
                                                                  at the Signing         Filed
                                                                                 of the Bail      05/18/17
                                                                                             Reform Act of 1966.                         Page 2 of 3




                                                                                                                                                                Like 13K

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                                                            286 ­ Remarks at the Signing of the Bail Reform Act of 1966.
                                                            June 22, 1966


                                       Senator Ervin, Chairman Celler, Mr. Attorney General, distinguished members of the House and
                                       Senate Judiciary Committees, and all of the other good citizens who have worked so hard to finally
                                       make it possible for us to have this ceremony this morning:

                                       Our Nation stands today at the threshold of a new era in our system of criminal justice. Those of you
                                       who have come here this morning­­and scores of others like you throughout this great land of ours­­
                                       are the mind and the force of this new era.

                                       So today we join to recognize a major development in our entire system of criminal justice­­the
                                       reform of the bail system.

                                       This system has endured­­archaic, unjust, and virtually unexamined­­ever since the Judiciary Act of
  Document Archive
  • Public Papers of the Presidents
                                       1789.
  • State of the Union                                                                                                                                Lyndon B. Johnson
  Addresses & Messages                 Because of the bail system, the scales of justice have been weighted for almost two centuries not with           1966: Book I
  • Inaugural Addresses                                                                                                                                   Location:
  • Farewell Addresses                 fact, nor law, nor mercy. They have been weighted with money.
  • Weekly Addresses
  • Fireside Chats
  • News Conferences
                                       But now, because of the Bail Reform Act of 1966, which an understanding and just Congress has
  • Executive Orders                   enacted and which I will shortly sign, we can begin to insure that defendants are considered as
  • Proclamations                                                                                                                                     District of Columbia
  • Signing Statements                 individuals­and not as dollar signs.                                                                               Washington
  • Press Briefings                                                                                                                                       Font Size:
  • Statements of
                                       The principal purpose of bail is to insure that an accused person will return for trial, if he is released
   Administration Policy
  • Economic Report of the President   after arrest.
  • Debates
  • Convention Speeches                                                                                                                                Share
  • Party Platforms                    How is that purpose met under the present system? The defendant with means can afford to pay
  • 2016 Election Documents            bail. He can afford to buy his freedom. But the poorer defendant cannot pay the price. He languishes
  • 2012 Election Documents
  • 2008 Election Documents            in jail weeks, months, and perhaps even years before trial. He does not stay in jail because he is                The American
  • 2004 Election Documents                                                                                                                            Presidency Project
  • 1996 Election Documents            guilty. He does not stay in jail because any sentence has been passed.
  • 1968 Election Documents
  • 1960 Election Documents            He does not stay in jail because he is any more likely to flee before trial.
  • 2017 Transition
  • 2009 Transition
  • 2001 Transition                    He stays in jail for one reason only­­he stays in jail because he is poor.
  • White House Media Pool Reports
  Data Archive
                                       There are hundreds, perhaps thousands, of illustrations of how the bail system has inflicted
  Data Index
  Media Archive                        arbitrary cruelty:
  Audio/Video Index
                                       ­­A man was jailed on a serious charge brought last Christmas Eve. He could not afford bail, so he
  Elections
  Election Index                       spent 101 days in jail until he could get a hearing. Then the complainant admitted that the charge
  Florida 2000
                                       that he had made was false.
  Links
  Presidential Libraries               ­­A man could not raise $300 for bail. He spent 54 days in jail waiting trial for a traffic offense for      Promote Your Page Too
  View Public Papers by                which he could have been sentenced to no more than 5 days.
     Month and Year                    ­­A man spent 2 months in jail before being acquitted. In that period, he lost his job, he lost his car, he lost his family­­it
    Month       Year
                                       was split up. He did not find another job, following that, for 4 months.

      INCLUDE documents                In addition to such injustices as I have pointed out, the present bail system has meant very high public costs that the
  from the Office of the Press
                                       taxpayer must bear for detaining prisoners prior to their trial.
  Secretary
      INCLUDE election
                                       What is most shocking about these costs­to both individuals and to the public­­is that they are totally unnecessary.
  campaign documents, vice
  presidential documents, first
  lady, and other executive            First proof of that fact came because of really one man's outrage against injustice. I am talking now of Mr. Louis
  branch officals                      Schweitzer, who pioneered the development of a substitute for the money bail system by establishing the Vera Foundation
            View PPPUS                 and the Manhattan bail project.

http://www.presidency.ucsb.edu/ws/?pid=27666                                                                                                                                 1/2
5/12/2017            Case 3:17-cv-00321-WKW-SMD             Document
                                        Lyndon B. Johnson: Remarks           6-44
                                                                   at the Signing         Filed
                                                                                  of the Bail      05/18/17
                                                                                              Reform Act of 1966.                             Page 3 of 3
     Search the Entire                   The lesson of that project was simple. If a judge is given adequate information, he, the judge, can determine that many
     Document Archive
                                         defendants can be released without any need for money bail. They will return faithfully for trial.
      Enter keyword:
                                         So this legislation, for the first time, requires that the decision to release a man prior to the trial be based on facts­­like
                                         community and family ties and past record, and not on his bank account. In the words of the act, "A man, regardless of his
            AND      OR      NOT
                                         financial status­­shall not needlessly be detained . . . when detention serves neither the ends of justice nor the public
                                         interest."
             Limit by Year
          From: 1789
                                         And it specifies that he be released without money bond whenever that is justified by the facts. Under this act, judges
          To : 2017
       Limit results per page            would­­for the first time­­be required to use a flexible set of conditions, matching different types of releases to different
                30                       risks.

     INCLUDE documents from              These are steps that can be taken, we think, without harming law enforcement in any manner.
  the Office of the Press                This measure does not require that every arrested person be released.
  Secretary
     INCLUDE election                    This measure does not restrict the power of the courts to detain dangerous persons in capital cases or after conviction.
  campaign documents, vice
  presidential documents, first
  lady, and other executive              What this measure does do is to eliminate needless, arbitrary cruelty.
  branch officals
                                         What it does do, in my judgment, is to greatly enlarge justice in this land of ours.
                  Search
                                         So our task is to rise above the debate between rights of the individual and rights of the society, by securing and really
        Instructions                     protecting the rights of both.
  You can search the Public
  Papers in two ways:       I want to personally thank Senator Ervin, Congressman Celler, the Attorney General, the members of the Justice
                            Department, and his predecessors who worked on this legislation. I also want to thank the able and distinguished
  1. Search by Keyword and
  Year                      leadership of all members of the Senate and the House Judiciary Committees, and the other Members of those two bodies,
  You can search by keyword for what I consider very fine work in making this legislation a reality.
  and choose the range of years
  within your search by filling
                                I am proud now, as a major step forward, to sign the Bail Reform Act of 1966 into the law of the land.
  out the boxes under Search
  the Public Papers.
                                         Note: The President spoke at 9:40 a.m. in the East Room at the White House. In his opening words he referred to Senator Sam J. Ervin,
  2. View by Month and/or
  Year                         Jr., of North Carolina, Representative Emanuel Celler of New York, Chairman of the House Judiciary Committee, and Attorney General
  Select the month and/or year Nicholas deB. Katzenbach.
  you would like information
  about and press View Public As enacted, the Bail Reform Act of 1966 is Public Law 89­465 (80 Stat. 214).
  Papers. Then choose a Public
  Paper and the page will load
  for you.                     Citation: Lyndon B. Johnson: "Remarks at the Signing of the Bail Reform Act of 1966.," June 22, 1966. Online by Gerhard Peters and John T.

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